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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  TIMOTHY ROECKEL,                  )
                                    )
      Plaintiff,                    )
                                    )
      v.                            )                     No. 1:21-cv-02244-REB-MEH
                                    )
  NORTHSTAR LOCATION SERVICES, LLC, )
                                    )
      Defendant.                    )


                            NOTICE OF VOLUNTARY DISMISSAL

         Plaintiff, TIMOTHY ROECKEL, (“Plaintiff”), through his attorney, Taylor L. Kosla,

  pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), voluntarily dismisses this case, without

  prejudice, against Defendant, NORTHSTAR LOCATION SERVICES, LLC.




                                        RESPECTFULLY SUBMITTED,



  September 8, 2021                     By:_/s/ Taylor L. Kosla
                                               Taylor L. Kosla
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                                               Agruss Law Firm, LLC
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                                   CERTIFICATE OF SERVICE


         I certify that on September 8, 2021, a true and correct copy of the foregoing document

  was electronically filed with the Court’s CM/ECF system to be sent via the electronic

  notification system to all counsel of record.


                                 By: /s/ Taylor Kosla
                                        Taylor Kosla
